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12
                                    UNITED STATES DISTRICT COURT
13
                                         DISTRICT OF NEVADA
14
       LARS JENSEN, an individual,                                 Case No. 3:22-cv-00045-LRH-CLB
15
                       Plaintiff,                                  NOTICE OF APPEAL TO THE
16
           v.                                                      UNITED STATES COURT OF
17                                                                 APPEALS FOR THE NINTH CIRCUIT
       NATALIE BROWN, in her individual and
18     official capacities as Administrative Officer at District Judge: Larry R. Hicks
       Truckee Meadows Community College; JULIE
19
       ELLSWORTH, in her individual and official
20     capacities as Dean of Sciences at Truckee
       Meadows Community College; ANNE
21     FLESHER, in her individual and official
22
       capacities as Dean of Math and Physical
       Sciences at Truckee Meadows Community
23     College; KARIN HILGERSOM, in her
       individual and official capacities as President of
24     Truckee Meadows Community College;
25
       MARIE MURGOLO, in her individual and
       official capacities as Vice President of
26     Academic Affairs at Truckee Meadows
       Community College; MELODY ROSE, in her
27

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                         Notice of Appeal to the United States Court of Appeals for the Ninth Circuit
                                                  3:22-cv-00045-LRH-CLB
           Case 3:22-cv-00045-LRH-CLB Document 60 Filed 10/02/23 Page 2 of 4




       individual and official capacities as Chancellor
1
       of the Nevada System of Higher Education,
2

3                       Defendants.
4

5
            Notice is hereby given through this Notice of Appeal to the United States Court of
6
     Appeals for the Ninth Circuit that Lars Jensen the appellant in the above-named case, by and
7

8
     through his undersigned counsel, hereby appeals to the United States Court of Appeals for the

9    Ninth Circuit from the Order of United States District Court Judge Larry R. Hicks (ECF No. 58)
10
     dated September 27, 2023. A copy of the Order (ECF No. 58) is attached hereto as Exhibit A.
11
     The Representation Statement required by FRAP 12(b) is attached as Exhibit B.
12
     DATED: October 2, 2023                                        Respectfully submitted,
13

14                                                           By: /s/ John M. Nolan
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                         Notice of Appeal to the United States Court of Appeals for the Ninth Circuit
                                                  3:22-cv-00045-LRH-CLB
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                                       CERTIFICATE OF SERVICE
1

2           I hereby certify, under penalty of perjury that I am a citizen of the United States, over

3    eighteen (18) years of age, and not a party to, nor interested in, the within action; and on the
4
     date set below, I sent a true and correct copy, NOTICE OF APPEAL TO THE UNITED
5
     STATES COURT OF APPEALS FOR THE NINTH CIRCUIT, via the electronic filing
6

7
     system maintained by the above mentioned Court and the United States Postal Service mail, to

8    the addressee listed below:
9

10
                                          Kiah D. Beverly-Graham
                                             NV Bar No. 11916
11                                            General Counsel
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                                            2215 Raggio Parkway
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16

17                                                                          DATED: October 2, 2023
18
                                                                            /s/ John M. Nolan
19                                                                          Attorney for Lars Jensen

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                         Notice of Appeal to the United States Court of Appeals for the Ninth Circuit
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                                INDEX OF EXHIBITS


    Exhibit #                  Description                         Number of Pages

A               District Judge Larry R. Hicks September 27,   20
                2023 Order
B               Representation Statement Required by          2
                FRAP 12(b)
